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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER:
DANIEL NERSOYAN,
                                                                                              2:19-cv-08109-SVW-MAA
                                                     PLAINTIFF(S),
                                   v.
COUNTY OF LOS ANGELES,
                                                                                          NOTICE OF APPEAL
                                                    DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                          Daniel Nersoyan                             hereby appeals to
                                                                   Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
                                                                           Granting Defendant's MSJ
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on                07/01/2021           . Entered on the docket in this action on 07/01/2021                                 .

A copy of said judgment or order is attached hereto.


July 8, 2021                                            /s/ Michael Devereux
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
